      Case 1:19-cv-00643-JEJ-EBC Document 9 Filed 06/18/20 Page 1 of 1




             IN THE UNITED STATES DISTRICT COURT
           FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

SOON PHATDOUANG,                       :
            Petitioner,                :     1:19-cv-0643
                                       :
             v.                        :     Hon. John E. Jones III
                                       :
DOUGLAS K WHITE, WARDEN,               :
            Respondent.                :

                                   ORDER

                                June 18, 2020

      NOW THEREFORE upon consideration of the petition for writ of habeas

corpus pursuant to 28 U.S.C. § 2241, and for the reasons set forth in the Court’s

Memorandum of the same date, it is hereby ORDERED that:

      1.     The petition for writ of habeas corpus (Doc. 1) pursuant to 28 U.S.C.
             §2241 is DENIED.

      2.     The Clerk of is directed to CLOSE this case.


                                       s/ John E. Jones III
                                       John E. Jones III, Chief Judge
                                       United States District Court
                                       Middle District of Pennsylvania
